     CASE 0:15-cv-02101-JRT-TNL Document 281 Filed 01/03/18 Page 1 of 3



                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA

 City of Wyoming, Minnesota; Village of          Civil No. 15-cv-02101 JRT-TNL
 Holmen, Wisconsin; City of Elk River,
 Minnesota; City of Mankato, Minnesota;
 City of Princeton, Minnesota; City of
 Fergus Falls, Minnesota; Sauk Centre            PLAINTIFFS’ MOTION
 Public Utilities Commission; and Chisago        TO COMPEL DISCOVERY FROM
 Lakes Joint Sewage Treatment                    DEFENDANT KIMBERLY-CLARK
 Commission; on behalf of themselves and         CORPORATION
 all others similarly situated,

              Plaintiffs,
       v.

 Procter & Gamble Company; Kimberly-
 Clark Corporation; Nice-Pak Products,
 Inc.; Professional Disposables
 International, Inc.; Tufco Technologies
 Inc.; and Rockline Industries,

              Defendants.

     Plaintiffs, by and through counsel, move this Court for an Order granting Plaintiffs’

Motion to Compel Discovery from Defendant Kimberly-Clark Corporation.

       This Motion is based on the pleadings, files and records herein, including

 Plaintiffs’ Memorandum of Law in Support of Motion to Compel, Declaration of Simon

 Bahne Paris and exhibits.

                                            Respectfully submitted,

Dated: January 3, 2018                     /s/ Garrett D. Blanchfield
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                                           REINHARDT, WENDORF &
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CASE 0:15-cv-02101-JRT-TNL Document 281 Filed 01/03/18 Page 2 of 3



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      CASE 0:15-cv-02101-JRT-TNL Document 281 Filed 01/03/18 Page 3 of 3



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